                   IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


NORTH CAROLINA STATE
CONFERENCE OF THE NAACP,
EMMANUEL BAPTIST CHURCH, NEW
OXLEY HILL BAPTIST CHURCH,
BETHEL A. BAPTIST CHURCH,
COVENANT PRESBYTERIAN CHURCH,
CLINTON TABERNACLE AME ZION
CHURCH, BARBEE’S CHAPEL
MISSIONARY BAPTIST CHURCH, INC.,
ROSANELL EATON, ARMENTA EATON,
CAROLYN COLEMAN, BAHEEYAH
MADANY, JOCELYN FERGUSON-
KELLY, FAITH JACKSON, AND MARY
PERRY,
               Plaintiffs,

                    v.

PATRICK LLOYD MCCRORY, in his
                                                 Civil Action No. 1:13-CV-658
official capacity as the Governor of North
Carolina, KIM WESTBROOK STRACH, in
her official capacity as Executive Director of
the North Carolina State Board of Elections,
JOSHUA B. HOWARD, in his official
capacity as Chairman of the North Carolina
State Board of Elections, RHONDA K.
AMOROSO, in her official capacity as
Secretary of the North Carolina State Board
of Elections, JOSHUA D. MALCOLM, in his
official capacity as a member of the North
Carolina State Board of Elections, PAUL J.
FOLEY, in his official capacity as a member
of the North Carolina State Board of Elections
and MAJA KRICKER, in her official capacity
as a member of the North Carolina State
Board of Elections,

                    Defendants.




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LEAGUE OF WOMEN VOTERS OF
NORTH CAROLINA, A. PHILIP
RANDOLPH INSTITUTE, UNIFOUR
ONESTOP COLLABORATIVE, COMMON
CAUSE NORTH CAROLINA, GOLDIE
WELLS, KAY BRANDON, OCTAVIA
RAINEY, SARA STOHLER, and HUGH
STOHLER,

                    Plaintiffs,

                    v.

THE STATE OF NORTH CAROLINA,
JOSHUA B. HOWARD in his official                 Civil Action No. 1:13-CV-660
capacity as a member of the State Board of
Elections, RHONDA K. AMOROSO in her
official capacity as a member of the State
Board of Elections, JOSHUA D. MALCOLM
in his official capacity as a member of the
State Board of Elections, PAUL J. FOLEY in
his official capacity as a member of the State
Board of Elections, MAJA KRICKER in her
official capacity as a member of the State
Board of Elections, and PATRICK L.
MCCRORY in his official capacity as
Governor of the state of North Carolina,

                    Defendants.


UNITED STATES OF AMERICA,

                    Plaintiff,

                    v.
                                                 Civil Action No. 1:13-CV-861
THE STATE OF NORTH CAROLINA; THE
NORTH CAROLINA STATE BOARD OF
ELECTIONS; and KIM W. STRACH, in her
official capacity as Executive Director of the
North Carolina State Board of Elections,




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                         Defendants.


         DEFENDANTS’ MOTION REGARDING ORDER ON
 ELECTRONICALLY STORED DOCUMENTS AND EMERGENCY REQUEST
                  FOR BRIEFING SCHEDULE

          On December 19, 2013, plaintiffs have or will be filing a proposed order regarding

electronically stored information. The parties reached agreement on all of the terms and

conditions in plaintiffs’ proposed order except as follows.

          1.    In the section of plaintiffs’ proposed order labeled “A. Provisions for the

Production of Documents and ESI”, defendants propose a new paragraph 9A which

states:

                9A.      Documents created after August 12, 2013 are presumed to be

          unresponsive and not relevant.     To the extent any party contends that

          documents created after August 12, 2013 are relevant to their claims, the

          parties shall meet and confer regarding these contentions. Upon a failure of

          the parties to agree, the party seeking discovery may move to compel the

          production of documents created after August 12, 2013, and such

          documents shall be produced upon a finding by the court that such

          documents are not privileged and are relevant or may lead to relevant

          information.

          2.    Defendants propose the following language for paragraph 33 of plaintiffs’

proposed order:




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       33.      The parties shall provide sufficient information in privilege

logs to establish the elements of each asserted privilege. See, e.g., Kelly v.

United States, 281 F.R.D. 270, 277 (E.D. N.C. 2012).             However, for

documents created in connection with this litigation, the parties need not

produce a privilege log for any privileged or protected documents that were

created or exchanged by:

       (a)      attorneys or staff of the United States Department of Justice;

       (b)      attorneys or staff of the United States Department of Justice

and other federal agencies;

       (c)      attorneys or staff of the Office of the North Carolina Attorney

General, its co-counsel Ogletree Deakins and its staff, counsel for the

Speaker of the North Carolina House of Representatives (“Speaker”),

counsel for the President Pro Tem of the North Carolina Senate (“President

Pro Tem”), and counsel for defendant McCrory and his staff; and

         (d)    counsel for the plaintiffs and their staff and co-counsel and

their staffs.

       33A      The parties agree that for documents created after August 12,

2013, in connection with this litigation, the parties need not produce a

privilege log for any privileged or protected documents that were created or

exchanged by:

       (a)             attorneys or staff of the Office of the North Carolina

Attorney General and its co-counsel Ogletree Deakins, and its staff, counsel




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       for the Speaker, counsel for the President Pro Tem, and counsel for

       defendant McCrory and his staff and any of the defendants in the case

       including the State of North Carolina and all of its agencies and officials;

              (b)    counsel for the plaintiffs (including the United States

       Department of Justice) and their staff, plaintiffs’ co-counsel and their staffs

       and any of the plaintiffs, including the organizational plaintiffs and their

       officers, employees, and agents.

              33B    No privilege log shall be required for any documents created

       prior to or after August 12, 2013, in the possession, custody or control of

       members of the General Assembly and their staff or legislative employees

       that are covered by legislative privilege, legislative immunity, or legislative

       confidentiality.

       3.     Defendants propose that paragraph 40 of plaintiffs’ proposed order be

deleted.

       4.     Briefing Schedule

       The parties agree that briefing is necessary on the issues raised by the parties’

disagreement regarding the ESI order.        Defendants propose the following briefing

schedule:

       (a)    Opening briefs from all parties shall be due on December 30, 2013, with

reply briefs due on January 6, 2014.




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       (b)    In the alternative, defendants’ opening brief shall be due on December 30,

2013, plaintiffs’ response briefing shall be due on January 6, 2014, and defendants’ reply

brief shall be due on January 9, 2014.

       Dated: December 19, 2013

                                   Respectfully submitted,

                                   For the North Carolina & North Carolina State
                                   Board of Elections Defendants:

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                           CERTIFICATE OF SERVICE

       I, Thomas A. Farr, hereby certify that I have this day electronically filed the
foregoing Defendants’ Motion Regarding Order On Electronically Stored
Documents and Emergency Request for Briefing Schedule with the Clerk of Court
using the CM/ECF system which will provide electronic notification of the same to the
following:

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      This the 19th day of December, 2013.

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